     0:18-cv-02353-JMC         Date Filed 08/29/18     Entry Number 10        Page 1 of 13




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

Pearl Insurance Group, LLC,         )
                                    )               Civil Action No.: 0:18-cv-02353-JMC
                     Plaintiff,     )
                                    )
       v.                           )                     ORDER AND OPINION
                                    )
David J. Baker and IGO Insurance    )
Agency, Inc.,                       )
                                    )
                     Defendants.    )
____________________________________)

       This matter is before the court on Plaintiff Pearl Insurance Group, LLC’s (“Plaintiff”)

Motion for Temporary Restraining Order, for Preliminary Injunction, for Civil Seizure of Devices,

and for Expedited Discovery. (ECF No. 6.) An emergency hearing was held regarding Plaintiff’s

Motion on August 27, 2018. (ECF No. 7.) After careful consideration of Plaintiff’s Motion, along

with the declarations and exhibits attached thereto, the court GRANTS the Motion for Temporary

Restraining Order and HOLDS IN ABEYANCE the remaining requests.

                    I. FACTUAL AND PROCEDURAL BACKGROUND

       This is an action to protect confidential trade-secret information and to enforce non-

solicitation and non-disclosure provisions in an Employment Agreement (“the Agreement”)

between Plaintiff and Defendants David J. Baker and IGO Insurance Agency, Inc. (ECF No. 1.)

Plaintiff is a privately held insurance company that provides national insurance coverages to

businesses, individuals, associations, and unions. (ECF No. 6-1 at 2.) Defendant Baker was

employed by Plaintiff as a Regional Director from on or about August 22, 2011, until March 30,

2018. (ECF No. 6-1 at 2, 4.) On July 26, 2011, in connection with the start of his employment with

Plaintiff, Defendant Baker signed the Agreement. (ECF No. 1-1 at 4; ECF No. 6-3 at 2.) The



                                                1
     0:18-cv-02353-JMC          Date Filed 08/29/18       Entry Number 10         Page 2 of 13




Agreement contains restrictive covenants that applied during Defendant Baker’s employment with

Plaintiff and for two years following his separation of employment from Plaintiff. (ECF No. 1-1

at 2-3.) Section 3 of the Agreement provides, in relevant part, as follows:

       [T]he Employee has agreed to devote his/her full time, energy, and efforts to
       [Plaintiff]’s business, except with [Plaintiff]’s written approval, and to refrain,
       during the term of his/her employment and for a period of two years after the
       termination of that employment, either directly or indirectly, from:

               ...

               (b)      contacting any client of [Plaintiff] for the purpose of soliciting, for
                        anyone other than [Plaintiff], the type of business in which
                        [Plaintiff] is engaged; and for which the Employee was employed;

               (c)      accepting, for anyone other than [Plaintiff], the type of business for
                        which the Employee was employed and in which [Plaintiff] is
                        engaged from any [Plaintiff] client which the Employee has
                        solicited or to whom [Plaintiff] has provided insurance during the
                        term of this Agreement; and

               (d)      disclosing, except as directed by [Plaintiff], any confidential data,
                        process or procedure utilized by [Plaintiff] in developing and
                        maintaining its business, including (but not limited to) the names
                        and addresses of any client, agent or broker; the needs of any client
                        with respect to the type of business in which [Plaintiff] is engaged,
                        marketing goals and practices; and product, policy or service costs
                        and analyses.

(ECF No. 1-1 at 2-3.)

       As set forth in Plaintiff’s Declarations, on the morning of March 27, 2018, Defendant Baker

phoned his supervisor and told him that he was giving two-weeks’ notice of his resignation of

employment, to be effective on April 10, 2018. (ECF No. 6-3 at 4.) Defendant Baker told his

supervisor that he was planning on taking at least a couple of months off to figure out what he

wanted to do next, but that he did not have any other plans for immediate employment. (ECF No.

6-4 at 2.) Defendant Baker followed up his telephone notice with an email, repeating the statement,




                                                  2
       0:18-cv-02353-JMC        Date Filed 08/29/18      Entry Number 10        Page 3 of 13




“I am not going back to work right away. I am taking some personal time off.” (ECF No. 6-4 at 3,

10.)

        Three days later, on Friday, March 30, 2018, Defendant Baker emailed one of Plaintiff’s

customers, making negative statements about the company and informing the customer that he

would be moving to Defendant IGO Insurance Agency, Inc. in less than two weeks, that his cell

phone number would not be changing, and that he would “continue to take care of you and your

business.” (Id. at 13.) The customer copied his response to Defendant Baker’s email and to

Plaintiff’s underwriter, who had previously been working with the customer and Defendant Baker

on the renewal of the customer’s automobile coverage with Plaintiff. (Id. at 3.) Baker was

immediately terminated on March 30, 2018, after his supervisor and Plaintiff’s upper management

found out about the email. (ECF No. 6-3 at 4; ECF No. 6-4 at 4.) Defendant Baker’s access to

Plaintiff’s email and communication systems was immediately discontinued, and the company’s

human resources executive demanded that Defendant Baker immediately return all company

property. (ECF No. 6-3 at 26; ECF No. 6-4 at 4.)

        Shortly after Defendant Baker’s termination, Plaintiff began to receive information that

Defendant Baker was soliciting his former customers to move their insurance business to

Defendant IGO. (ECF No. 6-4 at 4.) Defendant Baker’s former supervisor submitted a declaration

in which he recounted the emails and other evidence he collected regarding suspicious contacts

from Defendant Baker’s former clients. (Id.)

        On April 25, 2018, Plaintiff’s human resources executive sent a certified letter to Defendant

Baker at his home address reminding him of his obligations under the Agreement with Plaintiff,

specifically the non-disclosure provision and the non-solicitation provision. (ECF No. 6-3 at 29-

30.) Defendant Baker never responded to the letter. On June 22, 2018, another employee of



                                                 3
        0:18-cv-02353-JMC       Date Filed 08/29/18       Entry Number 10       Page 4 of 13




Plaintiff was going through Defendant Baker’s old emails looking for an email address of one of

Defendant Baker’s former customers. (ECF No. 6-4 at 46-47; ECF No. 6-5 at 2-3.) The employee

discovered that Defendant Baker had emailed confidential and trade-secret information from his

work email account to his personal email account shortly before his separation from the company,

including emails approximately five or six hours after Defendant Baker gave his two-weeks’ notice

of resignation on March 27, 2018. (ECF No. 6-5 at 2-3.) The attachments to Defendant Baker’s

emails contained highly confidential and sensitive information about Defendant Baker’s

customers, including his entire book of renewal business. (Id. at 4.) On July 27, 2018, Plaintiff’s

counsel sent cease and desist letters to Defendants Baker and IGO by email and by certified mail.

(ECF No. 6-6 at 2-3; ECF No. 6-7 at 2-3.) No acceptable resolution was reached by the parties.

         Plaintiff filed the underlying Complaint, pursuant to the court’s diversity jurisdiction, on

Thursday, August 23, 2018. (ECF No. 1.) The Complaint includes the following six causes of

action: (1) violations of the federal Defend Trade Secrets Act of 2016; (2) violations of the South

Carolina Trade Secrets Act; (3) breach of contract; (4) breach of contract accompanied by a

fraudulent act; (5) tortious interference with contract; and (6) breach of the duty of loyalty. (ECF

No. 1 at 5-12.) On August 27, 2018, Plaintiff filed the instant Motion for Temporary Restraining

Order (“TRO”) (ECF No. 6) against both Defendants, and the court set an emergency hearing for

that same day at 3:00 p.m. (ECF No. 7). Plaintiff notified both Defendants of the Complaint,

Motion, and the court’s hearing. Plaintiff seeks the instant TRO under counts 1-4. (ECF No. 6 at

1-2.)

         At the hearing, on August 27, 2018, Plaintiff’s counsel was present and Defendant IGO’s

counsel was present, but Defendant Baker’s counsel was not able to attend. During the hearing,

Plaintiff stated that it was only concerned with obtaining a TRO and agreed to defer the



                                                  4
     0:18-cv-02353-JMC          Date Filed 08/29/18       Entry Number 10         Page 5 of 13




consideration of a preliminary injunction and civil seizure to a later date. Moreover, the parties

agreed to engage in a discovery agreement, thereby relieving the court from deciding any expedited

discovery issues. As such, the court is only addressing whether Plaintiff is eligible for a TRO.

                                  II. STANDARD OF REVIEW

       Rule 65(b) of the Federal Rules of Civil Procedure authorizes a court to issue a TRO before

it hears the merits of a suit. The decision of whether to grant or deny a TRO is in the sound

discretion of the district court. See Sinclair Refining Co. v. Midland Oil Co., 55 F.2d 42, 45 (4th

Cir. 1932). Moreover, the purpose of a TRO is to “maintain the status quo while a lawsuit is

pending.” Campbell All. Grp., Inc. v. Forrest, No. 5:15-CV-667, 2015 WL 13718031, at *1

(E.D.N.C. Dec. 28, 2015) (citing League of Women Voters of N.C. v. North Carolina, 769 F.3d

224, 236 (4th Cir. 2014)). Substantively, the standard for evaluating the issuance of a TRO is the

same as that of a preliminary injunction. See U.S. Dep’t of Labor v. Wolf Run Mining Co., 453

F.3d 275, 281 n.1 (4th Cir. 2006); see also Virginia v. Kelly, 29 F.3d 145, 147 (4th Cir. 1994)

(applying the preliminary injunction standard to a request for a TRO).

       In order for the court to grant a TRO, the movant must establish the following elements:

(1) that he is likely to succeed on the merits; (2) that he is likely to suffer irreparable harm in the

absence of preliminary relief; (3) that the balance of equities tips in his favor; and (4) that a TRO

is in the public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). All four

elements must be satisfied in order for a court to grant a TRO. See Real Truth About Obama, Inc.

v. Fed. Election Comm’n, 575 F.3d 342, 346 (4th Cir. 2009) (citing Winter, 555 U.S. at 20).

Pursuant to this analysis, a plaintiff must first make a “clear showing that [he] will likely succeed

on the merits at trial.” Id. Second, “the movant must make a clear showing that [he] will likely

suffer irreparable harm without a TRO.” Cassidy v. Cliffs at High Carolina, LLC, No. 6:12-cv-



                                                  5
         0:18-cv-02353-JMC       Date Filed 08/29/18     Entry Number 10        Page 6 of 13




02089-MGL, 2012 WL 13006006, at *2 (D.S.C. Aug. 2, 2012) (citations omitted). If the first two

elements are shown, “only then may the court consider whether the balance of equities tips in the

[plaintiff’s] favor.” Lanier v. Branch Bank & Trust, No. 3:12–416–MBS–SVH, 2012 WL 667034,

at *1 (D.S.C. Feb. 28, 2012) (citing Real Truth, 575 F.3d at 346-47). Lastly, the court must pay

particular regard to the public consequences of employing the extraordinary relief of a TRO. Id.

                                         III. DISCUSSION

A. Success on the Merits

           1. Trade Secret Claims

          Under the South Carolina Trade Secrets Act (“SCTSA”), information is a trade secret only

if it:

          derives independent economic value, actual or potential, from not being generally
          known to, and not being readily ascertainable by proper means by the public or any
          other person who can obtain economic value from its disclosure or use, and is the
          subject of efforts that are reasonable under the circumstances to maintain its
          secrecy. 1

S.C. Code Ann. § 39-8-20(5)(a) (West 2018). The plaintiff has the burden of establishing the

existence of a trade secret. See Lowndes Prods., Inc. v. Brower, 191 S.E.2d 761, 765 (S.C. 1972).

In order to establish the misappropriation of a trade secret, a plaintiff must prove five elements:




1
 Under federal law, the term “trade secret” is defined similarly to the SCTSA and is considered:
       “all forms and types of financial, business, scientific, technical, economic, or
       engineering information, including patterns, plans, compilations, program devices,
       formulas, designs, prototypes, methods, techniques, processes, procedures,
       programs, or codes, whether tangible or intangible, and whether or how stored,
       compiled,      or    memorialized      physically,    electronically,   graphically,
       photographically, or in writing if the owner thereof has taken reasonable measures
       to keep such information secret; and the information derives independent economic
       value, actual or potential, from not being generally known to, and not being readily
       ascertainable through proper means by, another person who can obtain economic
       value from the disclosure or use of the information . . . .”
18 U.S.C. § 1839(3).
                                                  6
     0:18-cv-02353-JMC           Date Filed 08/29/18    Entry Number 10        Page 7 of 13




        (1) the existence of a trade secret; (2) communicated in confidence by the plaintiff
        to the employee; (3) disclosed by the employee in breach of that confidence; (4)
        acquired by the defendant with knowledge of the breach of confidence; and (5) used
        by the defendant to the detriment of the plaintiff.

Nucor Corp. v. Bell, 482 F. Supp. 2d 714, 725 (D.S.C. 2007).

        Plaintiff’s Declarations are sufficient to establish the aforementioned elements. First,

Plaintiff’s customer lists, contact information, policy expiration/renewal dates, premium amounts,

and customers’ insurance business needs are all protected as “trade secrets” because such

information or data “derives independent economic value, actual or potential, from not being

generally known to, and not being readily ascertainable through proper means by, another person

who can obtain economic value from the disclosure or use of the information.” 18 U.S.C. §

1839(3). This court has previously found such information to constitute a trade secret under the

SCTSA. See Vessel Med., Inc. v. Elliott, No. 6:15–cv–00330–MGL, 2015 WL 5437173, at *7

(D.S.C. Sept. 15, 2015). Additionally, under the SCTSA, Plaintiff “has taken reasonable measures”

to keep such information secret, including requiring employees to sign confidentiality provisions

in the Agreement, promulgating privacy and confidentiality provisions in its employee handbook,

password-protecting its computer systems and communications systems, and bringing prompt

enforcement actions to protect its rights. (ECF No. 6-3 at 2-4.) As such, Plaintiff has established

that the information at issue is a trade secret.

        Plaintiff alleges that Defendant Baker emailed his book of business and other sensitive

documents from his company email account to his private email account on March 27, 2018, some

four or five hours after he provided his two-weeks’ notice of his resignation. (ECF No. 6-5 at 3.)

Further, Defendant Baker has refused to return all company property following at least three

requests by Plaintiff and its attorney. (ECF No. 6-1 at 5-6.) As such, Defendant Baker had

knowledge of the existence and substance of Plaintiff’s trade secrets. (ECF No. 6-5 at 3.)

                                                   7
     0:18-cv-02353-JMC          Date Filed 08/29/18       Entry Number 10        Page 8 of 13




Moreover, Defendant Baker breached the confidence of Plaintiff by sending Plaintiff’s trade

secrets to his personal email and is possibly using that information to the detriment of Plaintiff.

(ECF No. 6-5.) Accordingly, Plaintiff has demonstrated a likelihood of success on the merits on

its trade secrets claims.

         2. Breach of Contract Claims

        Under South Carolina law, 2 “[r]estrictive covenants not to compete are generally

disfavored and will be strictly construed against the employer.” Rental Unif. Serv., Inc. v. Dudley,

301 S.E.2d 142, 143 (S.C. 1983). In order for a noncompetition agreement to be enforceable, a

claimant must show the following about the agreement: (1) that it is necessary for the protection

of the legitimate interests of the employer; (2) that it is reasonably limited in its operation with

respect to time and place; (3) that it is not unduly harsh and oppressive in curtailing the legitimate

efforts of the employee to earn a livelihood; (4) that it is reasonable from the standpoint of sound

public policy; and (5) it is supported by valuable consideration. Id. at 143-44. A time restraint upon

competition does not by itself make an agreement unreasonable, and three years will not invalidate

a restrictive covenant not to compete. Id. Moreover, “[p]rohibitions against contacting existing

customers can be a valid substitute for a geographic limitation” upon an employee. Wolf v.

Colonial Life & Accident Ins. Co., 420 S.E.2d 217, 222 (S.C. Ct. App. 1992).

        In the instant case, there is not a question about whether the Agreement is supported by

valuable consideration because Defendant Baker signed it upon the commencement of his




2
  Generally, the court applies South Carolina law when a contract dispute is brought pursuant to
the court’s diversity jurisdiction. See Episcopal Church in S.C. v. Church Ins. Co. of Vt., 993 F.
Supp. 2d 581, 586 (D.S.C. 2014) (“Because this action falls under the diversity jurisdiction granted
to the federal courts by 28 U.S.C. § 1332, the [c]ourt looks to the law of South Carolina to
determine the standards by which to evaluate the contract.” (citing Erie R.R. Co. v. Tompkins, 304
U.S. 64 (1938))).
                                                  8
     0:18-cv-02353-JMC          Date Filed 08/29/18      Entry Number 10        Page 9 of 13




employment with Plaintiff and was compensated yearly (ECF No. 1-1 at 4-5). See Reidman Corp.

v. Jarosh, 345 S.E.2d 732, 733-34 (S.C. Ct. App. 1986) (holding that there was valuable

consideration in an agreement to not compete). Next, the non-solicitation provision appears to be

necessary for the protection of Plaintiff’s legitimate business interests because it is specifically

aimed at protecting Plaintiff’s existing customers that Defendant Baker worked with during his

employment with Plaintiff. This court has previously upheld such non-solicitation provisions as

enforceable. See Vessel Med., Inc. v. Elliott, 2015 WL 5437173, at *6 (holding that a non-

solicitation provision was not facially unenforceable under South Carolina law). With respect to

the time limit, although South Carolina courts have never adopted a bright-line test for duration, a

two-year non-solicitation provision is well within the time limits previously approved by the

courts. See Dudley, 301 S.E.2d at 143. Third, the Agreement does not appear to be unduly harsh

or oppressive and would not unreasonably interfere with Defendant Baker’s ability to earn a

livelihood because Defendant Baker has “ample opportunity to work within his industry.” Vessel

Med., Inc., 2015 WL 5437173, at *6. Defendant Baker is free to seek gainful employment in his

chosen field, but may not use confidential information of Plaintiff or solicit business from his

former customers. See Milliken & Co. v. Morin, 731 S.E.2d 288, 295-96 (S.C. 2012) (holding that

an agreement struck the “appropriate balance” between an employer’s valuable interest in

confidential information and allowing an employee to seek gainful employment). Lastly, the

validity of Plaintiff’s confidentiality and non-solicitation provisions with Defendant Baker are

supported by public policy because they protect Plaintiff’s legitimate interests in trade secrets and

client relationships. Vessel Med., Inc., 2015 WL 5437173, at *6. Accordingly, Plaintiff can

establish a likelihood of success on the merits in its claim to enforce the non-solicitation and

confidentiality provisions of the Agreement with Defendant Baker.



                                                 9
    0:18-cv-02353-JMC          Date Filed 08/29/18      Entry Number 10       Page 10 of 13




       Plaintiff must also show the existence of a contract, breach of the contract, and damages as

a result of the breach. See Consignment Sales, LLC v. Tucker Oil Co., 705 S.E.2d 73, 76 (S.C. Ct.

App. 2010) (citing Fuller v. E. Fire & Cas. Ins. Co., 124 S.E.2d 602, 610 (S.C. 1962)). Based on

the evidence presented, Plaintiff has shown a likelihood of success on the merits. Plaintiff and

Defendant Baker entered into a binding contract, which was supported by sufficient consideration,

when Defendant Baker began his employment with Plaintiff. (ECF No. 1-1 at 4-5.) Based upon

evidence in the record, Defendant Baker violated the terms of the Agreement by contacting

Plaintiff’s clients and competing against Plaintiff. (ECF No. 1-1 at 2.) Moreover, Defendant Baker

has breached Plaintiff’s confidentiality policies under the Agreement and Communication System

Policy Acknowledgement Form. (ECF No. 6-3 at 14, 20, 22.) In regard to damages and detailed

below, Plaintiff has alleged that it suffered actual damages in commission revenue and that its

insurance carriers have suffered losses in total premium revenue. (ECF No. 6-4 at 5.) Therefore,

success on the merits of the breach of contract claim is likely.

B. Irreparable Harm in the Absence of Preliminary Relief

       Generally, “the possibility of permanent loss of customers to a competitor or the loss of

goodwill” may indicate the existence of irreparable harm. Multi-Channel TV Cable Co. v.

Charlottesville Quality Cable Operating Co., 22 F.3d 546, 552 (4th Cir. 1994) (citing Merrill

Lynch, Pierce, Fenner & Smith v. Bradley, 756 F.2d 1048, 1055 (4th Cir. 1985)). Additionally,

irreparable harm can be established by the loss of market share or price erosion, neither of which

can be compensated through money damages alone. See Z–Man Fishing Prods., Inc. v. Renosky,

790 F. Supp. 2d 418, 4333 (D.S.C. 2011). “The loss of a trade secret is irreparable harm, and the

threatened disclosure of a trade secret supports the imposition of injunctive relief.” Nucor Corp.

v. Bell, No. 2:06–CV–02972–DCN, 2008 WL 9894350, at *20 (D.S.C. Mar. 14, 2008) (citing N.



                                                 10
    0:18-cv-02353-JMC         Date Filed 08/29/18      Entry Number 10        Page 11 of 13




Atl. Instruments, Inc. v. Haber, 188 F.3d 38, 49 (2d Cir. 1999); FMC Corp. v. Varco Int’l, Inc.,

677 F.2d 500, 504-05 (5th Cir. 1982)).

       Pursuant to the instant Motion, Plaintiff alleges that it has already suffered substantial

losses in renewal premiums from Defendant Baker’s old accounts because they have left Plaintiff

since Defendant Baker’s departure from the company on March 30, 2018. (ECF No. 6-1 at 12.)

More specifically, Plaintiff argues that its insurance carriers have lost $295,834.00 in total

premium revenues and that it has personally lost $45,241.27 in commission revenue. (ECF No. 6-

4 at 5.) While Plaintiff cannot yet show whether some of its customers have moved their business

to Defendants, Plaintiff has shown that it has lost approximately thirty-five percent of those

policies which Defendant Baker previously managed for Plaintiff. (Id.) Further, Plaintiff maintains

that after Defendant Baker was fired, many customers were preparing to leave its business and

mentioned Defendants by name. (Id. at 4.) These facts are sufficient to show that Plaintiff’s loss

of customers, possibly at the hands of Defendant Baker, constitutes an irreparable injury. See

Multi-Channel TV Cable Co., 22 F.3d at 552.

C. Balance of the Equities and the Public Interest

       The court finds that the balance of the equities factor sufficiently favors Plaintiff in this

case. As noted above, Plaintiff is not seeking to prevent Defendant Baker from working at all in

the insurance industry or even in the automotive aftermarket segment; they are trying to prohibit

Defendant Baker from using Plaintiff’s confidential and trade-secret information or soliciting his

former customers in the course of such work. Any hardship to Defendant Baker from the issuance

of a TRO or preliminary injunction should be modest in comparison to the hardship Plaintiff is

likely to suffer if its Motion is denied. See Vessel Med., Inc., 2015 WL 5437173, at *10. The court

also finds that the public interest factor supports the issuance of a TRO in this case. The relief



                                                11
     0:18-cv-02353-JMC         Date Filed 08/29/18       Entry Number 10         Page 12 of 13




requested by Plaintiff is consistent with the public interests of enforcing valid contracts, preventing

unfair competition, and protecting confidential, trade-secret information from improper

misappropriation. Id. There is not an adverse impact upon the public interest that may be caused

by the issuance of the requested injunctive relief.

       For all of the foregoing reasons, the court hereby enters the following TRO: (1) Defendant

Baker is hereby enjoined from contacting or soliciting any former customer (or employee, agent,

or representative of a former customer) of Plaintiff, directly or indirectly, in any manner or in any

form, including by telephone, email, text message, instant message, written or electronic

correspondence, or in person; (2) Defendant Baker is ordered to return the mobile phone,

belonging to Plaintiff, pursuant to the signed Mobile Phone Policy; (3) Defendants Baker and IGO

are hereby enjoined from disclosing, using, propagating, or disseminating any of Plaintiff’s

confidential and trade secret information, including customer names, contact information, and

policy information such as expiration or renewal dates, coverages, and premiums; and (4)

Defendants Baker and IGO are hereby ordered to preserve and maintain any and all documents,

evidence, or other items, including electronically stored information, that is relevant to any claim

or defense in this action or that may be reasonably calculated to lead to the discovery of admissible

evidence.

                                        IV. CONCLUSION

       After a thorough review of Plaintiff’s Motion (ECF No. 6), and the accompanying

declarations and exhibits attached thereto, the court GRANTS Plaintiff’s Motion for Temporary

Restraining Order. (ECF No. 6.) Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure,

this TRO will expire on September 11, 2018 at 9:00 p.m. A hearing on Plaintiff’s Motions for Civil

Seizure of Devices, Preliminary Injunction, and Expedited Discovery (ECF No. 6) will be



                                                  12
    0:18-cv-02353-JMC          Date Filed 08/29/18        Entry Number 10        Page 13 of 13




scheduled for Monday, September 10, 2018, at 12:30 p.m., and notice will be made pursuant to

the Court’s ECF system. Defendants have until Tuesday, September 4, 2018, to respond to

Plaintiff’s Motions, and Plaintiff has until Saturday, September 8, 2018, to reply to Defendants’

response. If no attorneys have filed notices of appearance for Defendants prior to the date of such

notice, Plaintiff’s counsel must notify Defendants of the hearing through appropriate means and

must file corresponding certificates of service.

       The court HOLDS IN ABEYANCE Plaintiff’s Motions for Civil Seizure of Devices,

Preliminary Injunction, and Expedited Discovery. (ECF No. 6.)

       IT IS SO ORDERED.




                                                        United States District Judge
August 29, 2018
Columbia, South Carolina




                                                   13
